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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Case No. 04-CR-40039-JPG
                                              )
MICHAEL R. MCCAY,                             )
                                              )
       Defendant.                             )

                                             ORDER

       This matter comes before the Court on a Report and Recommendation (Doc. 545) from

Magistrate Judge Frazier, recommending that this Court accept defendant Michael R. McCay’s

guilty plea and adjudicate him guilty on Count 1 of the Fourth Superseding Indictment (Doc. 384).

       After reviewing a magistrate judge’s report and recommendation, the Court may accept,

reject or modify, in whole or in part, the findings or recommendations of the magistrate judge in the

report. Fed. R. Civ. P. 72(b). The parties have not objected to the R&R so its review if for clear

error. Johnson v. Zema Systems Corp., 170 F.3d 734, 739 (7th Cir. 1999). Upon review, the Court

finds that Judge Frazier did not clearly err, and hereby ADOPTS the R&R in its entirely. The Court

accepts defendant Michael R. McCay’s plea of guilty to Count 1 of the Fourth Superseding

indictment and hereby adjudges him guilty of that offense.

       IT IS SO ORDERED

       DATED: November 15, 2006.
                                                       s/ J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      U.S. District Judge
